           Case 3:11-cr-05746-DMS                          Document 122              Filed 04/27/12              PageID.397               Page 1 of 2


     <l!!!!.AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
                Sheet 1




                                                 UNITED STATES DISTRICT COURT                                              ,,, [wI( t::, c· ...• '
                                                     SOUTHERN DISTRICT OF CALIFORNIA)Q~!Hi:.ttH C~54 i<~'~

                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMW~Drf'\1T'
                                           v.                                       (For Offenses Committed On or After November I, 1987)

                     IRGUIN SANCHEZ-SERANO (4)                                      Case Number: llCRS746-DMS
                                                                                    Steven E Feldman CJA
                                                                                    Defendant's Attorney
     REGISTRATION NO. 29216298

    D
     THE DEFENDANT:
     181 pleaded guilty to count(s) _l_o_f_th_e_I_nfi_o_nnati_on
                                                       __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                            Nature of Offense                                                                           Number(s)
8 USC 1324(a)(2)(B)(ii)                 BRINGING IN ILLEGAL ALIEN FOR FINANCIAL GAIN and AIDING                                              1
  and 18 USC 2                             AND ABETTING




        The defendant is sentenced as provided in pages 2 through _--=2:....._ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count{s)
                                                               ----------------------------------
 D Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is DareD dismissed on the motion of the United States.

 181 Assessment: $100.00 ordered waived.

  181 Fine waived.                                    D     Forfeiture pursuant to order filed                                 , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               APRIL 27, 2012




                                                                              HON. DANA M. SABRA W
                                                                               UNITED STATES DISTRICT JUDGE

                                                                                                                                                 llCR5746-DMS
     Case 3:11-cr-05746-DMS                        Document 122            Filed 04/27/12     PageID.398            Page 2 of 2

AO 245B (CASD) (Rev. 1211 I) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                              Judgment ~ Page _ _2 _ of       2
 DEFENDANT: IRGUIN SANCHEZ-SERANO (4)
CASE NUMBER: llCRS746-DMS
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         THIRTY-SIX (36) MONTHS.




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o   The court makes the following recommendations to the Bureau ofPrisons:




    o   The defendant is remanded to the custody of the United States Marshal.

    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Oa.m.    Op.m.         on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        -------------------------------------------------------------------------
          o    as notified by the United States Marshal.

          o    as notified by the Probation or Pretrial Services Office.



                                                                RETURN

 I have executed this judgment as follows:

        Defendant delivered on                                                    to

at __________________________ , with a certified copy of this judgment.


                                                                                            UNITED STATES MARSHAL


                                                                      By _ _ _ _~~~~~~~~~~-----
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                     llCRS746-DMS
